               Case 6:22-bk-04313-GER       Doc 127     Filed 02/03/23   Page 1 of 2



                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

 In re:                                              CASE NO.: 6:22-bk-04313-GER

 BERTUCCI’S RESTAURANTS, LLC,                        CHAPTER 11

             Debtor.
 __________________________________/

                   NOTICE OF EMERGENCY PRELIMINARY HEARING

          PLEASE TAKE NOTICE that an emergency preliminary hearing has been set before

the Honorable Grace E. Robson, United States Bankruptcy Judge, on Tuesday, February 7,

2023 at 10:30 a.m., at the United States Bankruptcy Court, 400 W. Washington Street, 6th

Floor, Courtroom 6D, Orlando, Florida 32801, to consider and act upon the following:

                       DEBTOR’S EMERGENCY MOTION FOR
               APPROVAL OF PAYMENTS TO CERTAIN CRITICAL VENDORS
                                 (Doc. No. 125).

and transact such other business as may properly come before the meeting.

        1.      The hearing may be continued upon announcement made in open Court without
further notice.

          2.     All exhibits must be premarked and listed in accordance with Local Rule 9070-1.

         3.   Appropriate Attire. You are reminded that Local Rule 5072-1(b)(16) requires that
all persons appearing in Court should dress in business attire consistent with their financial
abilities. Shorts, sandals, shirts without collars, including tee shirts and tank tops, are not
acceptable.

        4.     Avoid delays at the Courthouse security checkpoints. You are reminded that
Local Rule 5073-1 restricts the entry of cellular telephones and, except in Orlando, computers
into the Courthouse absent a specific order of authorization issued beforehand by the presiding
judge. Due to heightened security procedures, persons must present photo identification to enter
the Courthouse.

       5.     Telephonic appearance before Judge Robson through Court Solutions. To arrange
a telephonic appearance with Court Solutions, parties must register for an account via their
website www.court-solutions.com.
                                                 1
           Case 6:22-bk-04313-GER          Doc 127     Filed 02/03/23    Page 2 of 2




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I caused the foregoing Notice of Emergency Preliminary

Hearing to be uploaded for filing via the Court’s CM/ECF system which will electronically serve

notice of the same to all parties receiving electronic notice, including all parties listed on the

attached matrix on this 3rd day of February 2023.

                                                /s/ R. Scott Shuker
                                                R. Scott Shuker, Esq.




                                                2
